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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7         In re Ex Parte Application of Frederic N.        Case No. 23-mc-80015-SVK
                                             Eshelman,
                                   8
                                                           Applicant.                         ORDER TO CONSENT OR DECLINE
                                   9                                                          MAGISTRATE JUDGE
                                                                                              JURISDICTION
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                                                                                              Re: Dkt. No. 1
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                                  12
Northern District of California
 United States District Court




                                  13              Frederic N. Eshelman has filed an ex parte application for an order pursuant to 28 U.S.C. §

                                  14   1782 authorizing service of subpoenas for documents and a deposition on Google LLC

                                  15   (“Google”). Dkts. 1-2, 1-3. In light of the Ninth Circuit’s ruling in CPC Patent Technologies v.

                                  16   Apple, the Court ORDERS as follows:

                                  17              1). The parties to this application, Frederic N. Eshelman and Google may consent or

                                  18   decline the jurisdiction of a magistrate judge under 28 U.S.C. § 636(c) no later than February 14,

                                  19   2023. See CPC Patent Techs. Pty Ltd. v. Apple, Inc., 34 F.4th 801 (9th Cir. 2022). The United

                                  20   States District Court for the Northern District of California maintains a standard form for parties to

                                  21   complete in cases assigned to a magistrate judge: https://www.cand.uscourts.gov/wp-

                                  22   content/uploads/forms/civil-forms/Notice_of_MJ_Assignment_Election_Form.pdf. Any party is

                                  23   free to withhold consent to proceed before a magistrate judge without adverse substantive

                                  24   consequences. Fed. R. Civ. P. 73(b)(2). If this Court does not receive the consent of both parties

                                  25   by the deadline, the matter will be reassigned to a district judge.

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                                           Case 5:23-mc-80015-EJD Document 4 Filed 01/17/23 Page 2 of 2




                                   1          2). Eshelman must serve Google with this Order and his proposed subpoenas by January

                                   2   31, 2023, and file a proof of service promptly after he has done so.

                                   3          SO ORDERED.

                                   4   Dated: January 17, 2023

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                                                                                                    SUSAN VAN KEULEN
                                   7                                                                United States Magistrate Judge
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Northern District of California
 United States District Court




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